
Upon consideration of the application filed by Defendant on the 24th day of September 2008 in this matter for Writ of Habeas Corpus Pursuant to G.S. Sec. 17-b and N.C. Const. Art. 1.5.8-S.21, the following order was entered and is hereby certified to the Superior Court, Brunswick County:
"Denied by order of the Court in conference, this the 9th day of October 2008."
Upon consideration of the application filed by Plaintiff on the 24th day of September 2008 in this matter for Application for Writ of Habeas Corpus Pursuant to G.S. Sec. 17-b Const. Art. 1.5.18-S.21 in Appropriate Circumstances, the following order was entered and is hereby certified to the Superior Court, Brunswick County:
"Denied by order of the Court in conference, this the 9th day of October 2008."
